                                   Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 1 of 35

Fill in this information to identify your case and this filing :

                                                                                                                       United States Courts
Debtor 1
                     Charles                      Ray                      Mosely                                    Southern District of Texas
                     First Nam e                 MiddteName               Last Name                                          Fl LED
Debtor 2
(Spouse, iffiling)   First Name                  Middle Name              Last Name
                                                                                                                          MAR 17 2025
United States Bankruptcy Court for the: Southern District of Texas

Case number
                     25-31187                                                                                      Nathan Ochsner, Clerk of Court
                                                                                                                                             D Check if this is an
                                                                                                                                                  amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    D No. Go to Part 2.
    D Yes . Where is the property?
                                                                     What is the property? Check all that apply.
                                                                                                                        Do not deduct secured claims or exemptions. Put
               3005 Nita
                                                                     !if' Single-family home                            the amount of any secured claims on Schedule D:
      1.1.                                                                                                              Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                     D Duplex or multi-unit building
                                                                     D Condominium or cooperative                       Current value of the      Current value of the
                                                                     D Manufactured or mobile home                      entire property?          portion you own?
                                                                     D Land                                             $- - 133,531.00           $    133,531.00
                                                                                                                             -----                 ------
               Houston                         TX       77051        D Investment property
                                                                     0   Timeshare                                      Describe the nature of your ownership
              City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     D Other _ _ _ _ _ _ _ _ _ _ _ __                   the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.

               Harris                                                liiJ Debtor 1 only
              County                                                 D Debtor 2 only
                                                                     D Debtor 1 and Debtor 2 only                       D Check if this is community property
                                                                                                                            (see instructions)
                                                                     D At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __
     If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.
                                                                                                                        Do not deduct secured claims or exemptions. Put
               3030 Chimira Lane
                                                                    liiJ Single-family home                             the amount of any secured claims on Schedule D:
                                                                                                                        Creditors Who Have Claims Secured by Property.
       1.2.
              Street address, if available, or other description
                                                                    D Duplex or multi-unit building
                                                                    D Condominium or cooperative                        Current value of the      Current value of the
                                                                    D Manufactured or mobile home                       entire property?          portion you own?
                                                                    D Land                                              $_ _133,024.00
                                                                                                                             _ _ _ __                    66,512.00 .
                                                                                                                                                  $- - - - ----
               Houston                         TX       77051
                                                                    D Investment property
                                                                    D Timeshare                                         Describe the nature of your ownership
              City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    D Other _ _ _ _ _ _ _ _ _ _ _ __                    the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.     Life estate
               Harris                                               D Debtor 1 only
              County                                                liiJ Debtor 2 only
                                                                    D Debtor 1 and Debtor 2 only                        D Check if this is community property
                                                                    D At least one of the debtors and another               (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __


 Official Form 106A/B                                               Schedule A/B: Property                                                               page 1
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Debtor 1           Charles                       Ray                        Mosely                          Case number (ffknown)_2_5_-3_1_1_8_7_ _ _ _ _ _ _ __ __
                   First Name      Middle Name           Last Name




                                                                     What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
                                                                     0   Single-family home                                    the amount of any secured claims on Schedule D:
     1.3.                                                                                                                      Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description       0   Duplex or multi-unit building
                                                                     0 Condom inium or cooperative                             Current value of the           Current value of the
                                                                                                                               entire property?               portion you own?
                                                                     0   Manufactured or mobile home
                                                                                                                               $_ _ _ _ _ __                  $_ _ _ _ _ __
                                                                     0   Land
                                                                     D Investment property
                                                                                                                               Describe the nature of your ownership
            City                             State     ZIP Code      D Timeshare                                               interest (such as fee simple, tenancy by
                                                                     D Other _ _ _ _ _ _ __ __ _ __                            the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     0 Debtor 1 only
            County
                                                                     0 Debtor 2 only
                                                                     D Debtor 1 and Debtor 2 only                               D Check if this is community property
                                                                                                                                    (see instructions)
                                                                     0 At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: ________ _______


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                       I            200043 .00 1·
   you have attached for Part 1. Write that number here ......... .. .... ....... .. ...............................................................   -+ ..__$_ _ _ _ _ _ __._



•#fl         Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any veh icles
you own that someone else drives . If you lease a vehicle , also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    0 No
    if Yes

            Make:
                                           Nissan                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                                the amount of any secured claims on Schedule D:
            Model:                         Rogue                     iia Debtor 1 only                                          Creditors Who Have Claims Secured by Properly.
                                           2015                      0 Debtor 2 only
            Year:                                                                                                               Current value of the          Current value of the
                                                                     0 Debtor 1 and Debtor 2 only
            Approximate mileage:
                                           176,000                                                                              entire property?              portion you own?
                                                                     0 At least one of the debtors and another
            Other information :
                                                                                                                                $          4,952.00           $_   _    _4_
                                                                                                                                                                          ,9_52_._oo_
                                                                     0 Check if this is community property (see                  -------
                                                                         instructions)



    If you own or have more than one, describe here:

     3.2.   Make:                                                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
            Model :                                                  0 Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
                                                                     D Debtor 2 only
            Year:                                                                                                               Current value of the          Current value of the
                                                                     0 Debtor 1 and Debtor 2 on ly
            Approximate mileage:                                                                                                entire property?              portion you own?
                                                                     0 At least one of the debtors and another
            Other information :
                                                                                                                                $_ _ _ _ _ __                 $________
                                                                      0 Check if this is community property (see
                                                                         instructions)




 Official Form 106A/B                                                 Schedule A/B: Property                                                                           page 2
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Debtor 1      Charles                          Ray                      Mosely                        Case number (ifknown),_2_5_-3_1_1_8_7_ _ _ _ _ _ _ _ _ __
               First Name        Mlddle Name         Last Name




                                                                 Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
   3.3.    Make:
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:
                                                                 D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                         entire property?          portion you own?
           Approximate mileage:                                  D At least one of the debtors and another
           Other information:
                                                                                                                      $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                 D Check if this is community property (see
                                                                    instructions)


                                                                 Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
   3.4.    Make:
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:
                                                                 D Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                         entire property?          portion you own?
           Approximate mileage:                                  D At least one of the debtors and another
           Other information:
                                                                                                                      $_ _ _ _ _ __             $_ _ _ __ _ _
                                                                 D Check if this is community property (see
                                                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers , motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   0 No
   D Yes

   4.1 .   Make:                                                 Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:
                                                                 D Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
           Year:
                                                                 D Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
           Other information:                                    D At least one of the debtors and another             entire property?          portion you own?


                                                                 D Check if this is community property {see            $_ _ _ _ _ __            $ _ _ _ _ _ __
                                                                    instructions)



   If you own or have more than one, list here:

   4.2.    Make:                                                 Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                                D Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                 D Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                                 D Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information :                                   D At least one of the debtors and another
                                                                                                                       $ _ _ _ _ _ _ __          $ _ _ _ _ _ _ __
                                                                 D Check if this is community property (see
                                                                    instructions)




 Official Form 106NB                                              Schedule A/B: Property                                                                page 3
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Debtor 1            Charles                                        Ray                                      Mosely                                            Case number (ifknown),_2_5_-_3_1_1_8_7
                                                                                                                                                                                                   __________
                      First Name              Middle Name                      Last Name




                Describe Your Personal and Household Items

                                                                                                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                                                                         or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware

   □ No                      ~-------------------------7
   0 Yes. Describe ......... IRefrigerator, freezer, washer, dryer, dishwasher, blender, lawnmower, weed I$                                                                                                                    4 ,875.00
                                            I eater, linen dishes, pots and pans, furniture , chairs , bed , and dresser.                                                                                                1 -------
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic de"1ices including cell phones, cameras , media players, games
   0 No
   0 Yes . Describe ..... .. .. . Stereo system , 40 in tv, PC, Tablet, all-in copier, cellphone and 35mm camera                                                                                                           $             2,396.00
                                                                                                                                                                                                                              --------
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   0 No
   D Yes . Describe ......... .                                                                                                                                                                                            $________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ia No
   D Yes. Describe ..........                                                                                                                                                                                              $_ _ _ _ _ _ __

10. Firearms
   Examples: Pistols, rifles , shotguns, ammunition, and related equipment
   □ No
   0 Yes. Describe ..... ..... , 9mm, 380 pistols and shotgun                                                                                                                                                                        600.00
                                                                                                                                                                                                                           $- - - - -- --
11.Clothes
   Examples: Everyday clothes, furs , leather coats, designer wear, shoes, accessories
   □ No
   ia Yes. Describe.......... Everday clothes shoes, suits, and accessories                                                                                                                                                $                780.00
                                                                                                                                                                                                                              --------

12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings , wedding rings, heirloom jewelry, watches, gems,
             gold, silver

   □ No                                      ,---------------------------------,
   ia Yes. Describe. •••••• ... J 2 wal-mart watches,                                                                                                                                                                     $                  50.00
                                                                                                                                                                                                                           --------
13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   ia No
   D Yes. Describe ... .... ...                                                                                                                                                                                           $________

14. Any other personal and household items you did not already list, including any health aids you did not list

   □ No
   □ Yes. Give specific                      j                                                                                                                                                                            $- - - - -600.00
     information .......... .... Used books,                                                                                                                                                                                         - --
                                             '--------------------------------------'
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                          $. _ _ _ _93_0_1-'-
                                                                                                                                                                                                                                          .0-'--
                                                                                                                                                                                                                                              0
   for Part 3. Write that number here ...... ..... .. .. .. .. .. ..................... .. ... .... ............. .. ... ... .... .. .... ................. ... ..... .. ............. ..... .............. ... .... ~



Official Form 106NB                                                                              Schedule NB: Property                                                                                                                 page 4
                                        Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 5 of 35
Debtor 1                Charles                                                 Ray                                               Mosely                                                                                ______________
                                                                                                                                                                                              Case number (ff known), 2 5- 31187
                          First Name                   Middle Name                             Last Nam e




•iii               Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                                                           Current value of the
                                                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                                                      or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   0 No
   i2I Yes .. .. .. .. ... ... .. .. .... .... .. ... .... .... ................. .. ...... .... .... .... .... .. ....... .. .. .. ... ................................. .. ....... ... .. .... .. .. .... ..   Cash : ....... .. ........... .. .               47.00
                                                                                                                                                                                                                                                       $_ _ _ _ _ _ __



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution , list each .

   0 No
   i2I Yes .. .. ...... ......... ..                                                                                   Institution name:


                                                        17.1. Checking account:                                                                                                                                                                        $               560.00

                                                        17.2. Checking account:                                                                                                                                                                        $

                                                        17.3. Savings account:                                                                                                                                                                         $               800 .00

                                                         17.4. Savings account:                                                                                                                                                                        $

                                                         17.5. Certificates of deposit:                                                                                                                                                                $

                                                         17.6. Other financial account:                                                                                                                                                                $

                                                         17.7. Other financial account:                                                                                                                                                                 $

                                                         17.8. Other financial account:                                                                                                                                                                 $

                                                         17.9. Other financial account:                                                                                                                                                                 $




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    0 No
   D Yes ........ .. .. .. ...                           Institution or issuer name:

                                                                                                                                                                                                                                                        $_ _ _ _ _ __
                                                                                                                                                                                                                                                        $_ _ _ _ _ __

                                                                                                                                                                                                                                                        $_ _ _ _ _ __




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

    i2I No                                               Name of entity:                                                                                                                                         % of ownership:
    D Yes. Give specific                                                                                                                                                                                          0%                   %                $
           information about
           them ... .. ...... ...... .. .. ... .                                                                                                                                                                  0%                   %                $
                                                                                                                                                                                                                  0%                   %                $




 Official Form 106A/B                                                                                                Schedule A/8: Property                                                                                                                         page 5
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                  Charles                                  Ray                      Mosely             Case number (ff known) 25-31187
Debtor 1
                     First Name            Middle Name           Last Name                                               ---------------

20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes , and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   0 No
   0 Yes. Give specific                    Issuer name:
        information about
        them ................... .. ..                                                                                                   $_ _ _ _ _ __

                                                                                                                                         $_ _ _ _ _ _ __
                                                                                                                                         $_ _ _ _ _ _ __


21 . Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   0 No
   0 Yes. List each
         account separately.               Type of account:          Institution name:

                                           401(k) or similar plan: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                 $_ _ _ _ _ _ __

                                           Pension plan:            ___________________________                                          $_ _ _ _ _ _ __
                                           IRA:                     _______________________                                              $_ _ _ _ _ __

                                           Retirement account:      _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __                  $_ _ _ _ _ _ __

                                           Keogh:                   _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                 $_ _ _ _ _ _ __

                                           Additional account:      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _                 $_ _ _ _ _ _ __

                                           Additional account:      ___________________________                                          $_ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

    iw:I No
    0 Yes .. .. ......................                           Institution name or individual:
                                            Electric:                                                                                    $_ _ _ _ _ _ __
                                            Gas:                                                                                         $_ _ _ _ _ _ __
                                            Heating oil:                                                                                 $_ _ _ _ _ _ __
                                            Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __            $_ _ _ _ _ _ __
                                            Prepaid rent:                                                                                $_ _ _ _ _ _ __
                                            Telephone:                                                                                   $_ _ _ _ _ _ __
                                            Water:                                                                                       $_ _ _ _ _ _ _ __
                                            Rented furniture:                                                                            $_ _ _ _ _ _ _ __
                                            Other:                                                                                       $_ _ _ _ _ _ __


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    □ No
    0 Yes ... .. .. .. .............. ..    Issuer name and description :
                                             Met life                                                                                    $         2,761.08
                                             Office of Personnel Management
                                                                                                                                         -------
                                                                                                                                         $_ _ _1_4_,3_4_4_.o_o
                                             Social security                                                                             $- - - 17,376.24
                                                                                                                                                ----

 Official Form 106A/B                                                         Schedule A/8: Property                                               page 6
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Debtor 1            Charles                                        Ray                        Mosely                    Case number (dknown)_2_5_-_3_1_1_8_7_ _ _ _ _ _ _ _ _ __
                      First Name               Mlddle Name                   Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program .
   26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
   0 No
   0 Yes .. .. .. .. .. .. .. .. .. ..................    Institution name and description . Separately file th e records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                                  $_ _ __ _ __
                                                                                                                                                                  $_ _ _ _ _ __
                                                                                                                                                                  $_ _ _ _ _ __


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   0 No
   0 Yes. Give specific
         information about them ....                                                                                                                              $_ _ _ __ __ _


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   0 No
   0 Yes. Give specific
         information about them .. ..                                                                                                                             $_ _ _ _ __ _ _


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   0 No
   D Yes. Give specific
         information about them ....                                                                                                                              $_ _ _ _ _ __


Money or property owed to you?                                                                                                                                    Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you

   0 No
   0 Yes. Give specific information
                  about them, including whether
                                                                         I                                                              Federal:              $_ _ _ _ _ __


                  ~~~                                    ~~~~~~~
                                                                                                                                        State:                $_ _ _ _ _ __

                          ~~:~:: ;~:~st_h_~..                      .... .. .. ~ - - - - - - - - - - - - - - - - - - - - - '             Local:                $_ _ __ __ _


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   0 No
   0 Yes. Give specific information ............ ..
                                                                                                                                       Alimony:                   $_ _ _ __ _ __
                                                                                                                                       Maintenance:               $_ _ _ _ _ _ __
                                                                                                                                       Support                    $_ _ _ _ _ __
                                                                                                                                       Divorce settlement:        $_ _ _ _ _ _ __
                                                                                                                                       Property settlement:       $_ _ _ _ _ _ __

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation ,
             Social Security benefits; unpaid loans you made to someone else
   0 No
   D Yes . Give specific information .. .... .. .. .. .. .
                                                                                                                                                                  $_ _ _ _ _ _ _ __



 Official Form 106NB                                                                     Schedule A/8: Property                                                             page 7
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Debtor 1              Charles                                       Ray                                     Mosely                                           Case number (if known) 25-31187
                        First Name              Mlddte Name                     Last Name                                                                                                  ·- - - - - - - - - - - - - - -


31 . Interests in insurance policies
     Examples: Health , disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

     0 No
     D Yes. Name the insurance company                                        Company name:                                                                      Beneficiary:                                           Surrender or refund value:
                    of each policy and list its value ....
                                                                                                                                                                                                                        $_ _ _ _ _ _ _
                                                                                                                                                                                                                        $_ _ _ _ _ __
                                                                                                                                                                                                                        $_ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died .
     'ia No
     D Yes. Give specific information ............ ..
                                                                                                                                                                                                                         $_ _ _ __ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
     ia No
     D Yes . Describe each claim ................... .. ...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___, $_ _ _ _ _ _ _ __

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     0 No
     D Yes. Describe each claim . .. ................ ..
                                                                           ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - $_ _ _ _ _ _ _ __



35. Any financial assets you did not already list

     0 No
     D Yes. Give specific information ........ .. .. ...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___, $_ _ _ _ _ _ __

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here ............... .. ...... .. .. ................................... .. ...... .. .. .. ......... .. .. .. .. .. .............. .. .................................... .   -+                  34481.22




                     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
     ia No. Go to Part 6.
     D Yes . Go to line 38.
                                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                                       or exemptions.

38. Accounts receivable or commissions you already earned
     ia No
      D Yes. Describe .. .. ...

39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones , desks, chairs, electronic devices

      0 No
      D Yes. Describe .. .....


 Official Form 106A/B                                                                             Schedule A/B: Property                                                                                                            page 8
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Debtor 1           Charles                                   Ray                                   Mosely                                        Case number (if known) 25-31187
                     First Name            Middle Name                   Last Name                                                                                            · - - - - - -- - - -- - - -


40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   if No
   □ Yes . Describe .. .....



41 . Inventory
      lil No
   □ Yes . Describe .......


42. Interests in partnerships or joint ventures

   liif No
   D Yes. Describe .......                Name of entity:                                                                                                                  % of ownership:
                                                                                                                                                                           _ _ _%                      $_ _ _ _ __ _ __
                                                                                                                                                                           _ _ _%                      $_ _ _ _ _ _ _ __
                                                                                                                                                                           _ _ _%                      $_ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
   lil No
   D Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
                 □ No
                 D Yes. Describe ........
                                                                                                                                                                                                        $_ _ _ _ _ _ __


44. Any business-related property you did not already list
    lil No
    D Yes. Give specific                                                                                                                                                                                $
         infonmation .........
                                                                                                                                                                                                        $

                                                                                                                                                                                                        $

                                                                                                                                                                                                        $

                                                                                                                                                                                                        $

                                                                                                                                                                                                        $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here .......................................... ................................................................... ................................ .. .. .. .   -+ Is                    0.00     I

                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an interest in farmland , list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    liif No. Go to Part 7.
    D Yes. Go to line 47.
                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                       or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
    [ii:I' No
    D Yes .............. ...... .. .. .
                                                                                                                                                                                                            $_ _ _ _ _ _ __



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                    page 9
                                   Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 10 of 35
                       Charles                                       Ray                                     Mosely                                          Case number (ff known) 25-31187
 Debtor 1
                         First Name             Middle Name                     Last Name                                                                                                   --------------
48. Crops-either growing or harvested

      i2I No
      □ Yes. Give specific
        information ........... ..                                                                                                                                                                                       $_ _ _ _ _ _ __

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    0 No
      □ Yes ......................... .
                                                                                                                                                                                                                         $_ _ _ _ _ _ __

50. Farm and fishing supplies, chemicals, and feed

      0 No
      □     Yes .... .. .. .. ...... .. ......., - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,

                                                                                                                                                                                                                         $_ _ _ _ _ _ __

51 . Any farm- and commercial fishing-related property you did not already list
      0 No
      □ Yes. Give specific
        information ............ .                                                                                                                                                                                       $_ _ _ _ _ _ __

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                         $               0.00
    for Part 6. Write that number here ........... .. .. .. ............................................................................ .......... .. ...... .. .. .................................          -+        --------


                     Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

      ia No
                                                                                                                                                                                                                             $_ _ _ _ __ _
      □ Yes . Give specific
        information . ........... .                                                                                                                                                                                          $_ _ _ _ _ __
                                                                                                                                                                                                                             $_ _ _ _ _ __


 54. Add the dollar value of all of your entries from Part 7. Write that number here .......................... ......................... .. .... .. .. .. ..                                                  -+            $- - - - -0.00
                                                                                                                                                                                                                                       --


j§fI List the Totals of Each Part of this Form
 55. Part 1: Total real estate, line 2 ....................... .. ............................................... ............ ........................... ...... .... .. .... ...................... .. .. .....   -+          200043.00
                                                                                                                                                                                                                         $_ _ _ _ _ __

 56. Part 2: Total vehicles, line 5                                                                                         $_ _ _ 4952.00
                                                                                                                                   _ _ __

 57. Part 3: Total personal and household items, line 15
                                                                                                                                   9301.00
                                                                                                                            $_ _ _ _ _ __

 58. Part 4: Total financial assets, line 36                                                                                $_ _ _34481.22
                                                                                                                                   _ _ __

 59. Part 5: Total business-related property, line 45                                                                       $- - - - -0.00
                                                                                                                                      --
 60. Part 6: Total farm- and fishing-related property, line 52                                                              $                         0.00
                                                                                                                              -------
 61 . Part 7: Total other property not listed, line 54                                                                  +$                            0.00
                                                                                                                              ------
 62. Total personal property. Add lines 56 through 61 ... .. .. ...... ....... .                                            $_ _ _ _ _S_S_.0_0---1 Copy personal property total                                     -+ + $- - - - -55.00
                                                                                                                                                                                                                                    --

                                                                                                                                                                                                                                200,098 .00
 63. Total of all property on Schedule A/B. Add line 55 + line 62 .... ......................... ................ .... ........................... ..............
                                                                                                                                                                                                                         I $_ _
  Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                           page 10
                            Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 11 of 35

 Fill in this information to identify your case:


 Debtor 1           Charles                    Ray                      Mosely
                     First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if fi ling) First Name              Middle Name              Last Name


 United States Bankruptcy Court for the: Southern District of Texas

 Case number          25-31187                                                                                                          D Check if this is an
  (If known )
                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/19

Be as complete and accurate as possible , If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed , fill out and attach to this page as many copies of Part 2: Additional Page as necessary, On the top of any additional pages, write
you r name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the appllcable statutory amount.


                  Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      IS You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      D You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


        Brief description of the property and line on       Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
        Schedule AIB that lists this property               portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule AIB

      Brief
                               3005 Nita. Houston, l        $133,531.00                                                      Pro. 41.001 ,
      description:                                                                 ~$ _ _ __
                                                                                                                            .41 002 Const
       Line from                                                                   D 100% of fair market value, up to        Art 16 Sec.50.51
       Schedule AIB:               1.1                                                any applicable statutory limit


      Brief                                                                                                                 Prop.002(a) (9)
      description:
                               2015 Nissan Roque            $4,952.00              0 $4,952.00
      Line from                .3..j__
                                                                                   D 100% of fair market value, up to
      Schedule A/B:                                                                   any applicable statutory limit

      Brief                                                                                                                 Prop 42 002(a)(1)
      description:             Appliances. furniture        $_______               0 $4,875.00
       Line from                                                                   D 100% of fair market value, up to
       Schedule AIB: ..3....6...__                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      IS No
      □ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            □      No
            D      Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                         page 1 of,£
                      Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 12 of 35
Debtor 1       Charles
              First Name          Middle Name
                                                Ray                       Mosely                                         ______________
                                                                                                    Case number (ff known), 25-31187
                                                      Last Name




' ' ' ' Additional Page
      Brief description of the property and line              Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule AIB that lists this property                portion you own
                                                              Copy the value from    Check only one box for each exemption
                                                              Schedule AIB

     Brief                                                                                                                   Prop 42 .002(a)(1)
     description:
                           Electronics                            $     2,396.00     IB$      2,396.00
     Line from             3. 7                                                      0 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief                                                                                                                   Prop.42.002(a)(7)
     description :         firearms                           $            600.00    lia' s __6_o_o_.o_o
     Line from                                                                       D 100% of fair market value , up to
                           3.10                                                         any applicable statutory limit
     Schedule AIB:

     Brief                                                                                                                   Prop. 42.002(a)(2)
                           Clothes.shoes                          $        780.00    rat$      780 .00
     description:                                                 -------            ~ ----
     Line from             3.11
                                                                                     0 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief                                                                                                                   Prop . 42.00(a)(6)
                           Watches                                $         50.00    IS$          50.00
     description:
     Line from             3.12                                                      0 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief                                                                                                                   Prop 42.002(a)(1)
                           Used books                         $            600.00    IS$        600.00
     description :
     Line from                                                                       D 100% of fair market value, up to
                           3.14                                                         any applicable statutory limit
     Schedule A/B:

     Brief
     description-.                                            $                      0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief
     description :                                                $                  0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief
     description:                                                 $                  0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit


     Brief
     description:                                                 $                  0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief
     description :                                                $                  0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule AIB:                                                                      any applicable statutory limit

     Brief
     description:                                                 $                  Os
     Line from                                                                       D 100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit


     Brief
     description:                                             $                      0$
     Line from                                                                       D 100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                       page£_of~
                             Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 13 of 35

Fill in this information to 1dent1fy your case:


Debtor 1          Charles                      Ray                            Mosely
                    First Name                 Middle Nam e                  Last Name

Debtor 2
(Spouse, iffi ling) Firat Name                 Middle Name                   Last Name


United States Bankruptcy Court for the : Southern District of Texas

Case number         25-31187
 (If known)                                                                                                                                             D Check if this is an
                                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      D No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form .
      □ Yes . Fill in all of the information below.


               List All Secured Claims
                                                                                                                          Column A               Column B                  Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                   Amount of claim        Value of collateral       Unsecured
   for each claim . If more than one creditor has a particular claim , list the other creditors in Part 2.                Do not deduct the      that supports this        portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.                           value of collateral.   claim                     If any

2                                                                                                                               133,531.00        $                    $        0.00
    •1 Selene Finance LP                                   Describe the property that secures the claim:                  $
                                                                                                                                                  · - - - - - - - ------
      Creditor's Name                                  I
      _P_._O_._B_ox_8B_1_9_ _ _ _ _ _ 3005 Nita St. Houston, TX. 77051
      Number            Street                         .
                                                           As of the date you file, the claim is: Check all that apply.
                                                           □ Contingent
       Philadelphia               PA 19101                 □ Unliquidated
      City                        State   ZIP Code         liiil' Disputed
    Who owes the debt? Check one.                          Nature of lien . Check all that apply.
    liiil' Debtor 1 only                                   liiil' An agreement you made (such as mortgage or secured
    □ Debtor 2 only                                          car loan)
    □ Debtor 1 and Debtor 2 only                           □ Statutory lien (such as tax lien, mechanic's lien)
    □ At least one of the debtors and another              □ Judgment lien from a lawsuit
                                                           □ Other (Including a right to offset) _ _ _ __ __ _
    □ Check if this claim relates to a
      community debt
    Date debt was incurred       11/08/200f                Last 4 digits of account number J!_ --1_ _Q_ _1_
2.2                                                                                                                       $_ _ _ _ _ __           $_ __ _ _ _ _ $_____
                                                           Describe the property that secures the claim:
      Creditor's Name


      Number            Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                           □ Contingent
                                                           □ Unliquidated
      City                        State   ZIP Code
                                                           liiil' Disputed
    Who owes the debt? Check one.                          Nature of lien. Check all that apply.
    □   Debtor 1 only                                      □ An agreement you made (such as mortgage or secured
    □   Debtor 2 only                                           car loan)
    □   Debtor 1 and Debtor 2 only                         □ Statutory lien (such as tax lien, mechanic's lien)
    □   At least one of the debtors and another            □ Judgment lien from a lawsuit
                                                           □ Other (including a right to offset) _ _ _ _ _ _ __
    □ Check if this claim relates to a
       community debt
    Date debt was incurred                                 Last 4 digits of account number _         __ _
       Add the dollar value of your entries in Column A on this page. Enter that number here:                                    133,531.00
                                                                                  ------------ ~------~---
 Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 ot_1_
                            Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 14 of 35
Debtor 1        Charles                       Ray                        Mosely                             Case number (ffknown)'-2_5_-_3_1_1_8
                                                                                                                                               _7__________
                  First Name    Middle Name         Lest Name



                                                                                                                    Column A                Column B                  Column C
                                                                                                                    Amount of claim         Value of collateral       Unsecured
              After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this        portion
                                                                                                                    Do not deduct the

            ----------------------------------
              by 2.4, and so forth.



     Creditor's Name
                                                    Describe the property that secures the clalm:                  $
                                                                                                                    value of collateral.    clalm

                                                                                                                                            $                     $
                                                                                                                                                                      If any




     Number            Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
     City                       State   ZIP Code    □ Unliquidated
                                                    □ Disputed
 Who owes the debt? Check one .                     Nature of lien. Check all that apply.
 0     Debtor 1 only                                □ An agreement you made (such as mortgage or secured
 □ Debtor 2 only                                         car loan)
 □ Debtor 1 and Debtor 2 only                       □ Statutory lien (such as tax lien , mechanic's lien)
 □ At least one of the debtors and another          □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset)
 □ Check If this cl aim relates to a
   community debt

 Date debt was incurred                             Last 4 digits of account number _          ___


                                                    Describe the property that secures the claim:                  $                         $                    $
     Creditor's Name


     Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
                                                    □ Unliquidated
     City                       State    ZIP Code
                                                    □ Disputed
 Who owes the debt? Check one .
                                                    Nature of lien . Check all that apply.
  □ Debtor 1 only
                                                    □ An agreement you made (such as mortgage or secured
  □ Debtor 2 only                                        car loan)
  □ Debtor 1 and Debtor 2 only                      □ Statutory lien (such as tax lien, mechanic's lien)
  □ At least one of the debtors and another         □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset)
  □ Check if this claim relates to a
    community debt

 Date debt was Incurred                             Last 4 digits of account number _          ___


                                                    Describe the property that secures the claim:                  $                         $                    $
     Creditor's Name


     Number            Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
     City                       State    ZIP Code   0    Unliciuidated
                                                    □ Disputed
  Who owes the debt? Check one .                    Nature of lien . Check all that apply.
  □ Debtor 1 only                                   □ An agreement you made (such as mortgage or secured
  □ Debtor 2 only                                        car loan)
  □ Debtor 1 and Debtor 2 only                      □ Statutory lien (such as tax lien, mechanic's lien)
  □ At least one of the debtors and another         □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset) _ _ _ _ _ _ __
  □ Check if this claim relates to a
    community debt
  Date debt was incurred _ _ _ __                   Last 4 digits of account number _          __ _

            Add the dollar value of your entries in Column A on this page. Enter that number here: $                                 0.00
                                                                                                                   l======I
            If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                    $      133,531.00
            Enter_that num~r here:_                     ·- · - _

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page~of~
                                   Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 15 of 35
      Fill m this information to identify your case :


      Debtor 1             Charles                                 Ray                            Mosrly
                             First Name                            Middle Name                    Lest Name

      Debtor 2
      (Spouse, if filing) First Name                               Middle Name                    Last Name


      United States Bankruptcy Court for the: Southern District of Texas

      Case number            25-31187                                                                                                                                    D Check if this is an
          (If known)                                                                                                                                                         amended filing


    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                 12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    A/8: Property {Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).

                        List All of Your PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims against you?
            lia No. Go to Part 2.
            D Yes .
     2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim , list the creditor separately for each claim. For
            each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
            nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
            unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim , list the other creditors in Part 3.
            (For an explanation of each type of cla im, see the instructions for this form in the instruction booklet.)
                                                                                                                                                          Total claim   Priority    Non priority
                                                                                                                                                                        amount      amount

EJ
\             _P_ri<>n_'_ty_C<_<>d_
                                 \t o r ' - . , - N - a m - . , - - - - - - - - - - - -
                                                                                          Last 4 digits of account number _         _    _     _      $_ _ _ _ _ $_ _ _ _ _ $_ _ __ _

                                                                                          When was the debt incurred?
              Number             Street

                                                                                          As of the date you file , the claim Is: Check all that apply.
                                                                                          □ Contingent
              City                                     State         ZIP Code
                                                                                          □ Unliquidated
              Who incurred the debt? Check one.
                                                                                          □ Disputed
              □ Debtor 1 only
               □ Debtor 2 only                                                            Type of PRIORITY unsecured claim:
               D Debtor 1 and Debtor 2 only                                               □ Domestic support obligations
               □ At least one of the debtors and another
                                                                                          □ Taxes and certain other debts you owe the government
               □ Check if this claim is for a community debt                              □ Claims for death or personal injury while you were
               Is the claim subject to offset?                                              Intoxicated
               □ No                                                                       □ Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
               □ Yes
    2.2
                                                                                          Last 4 digits of account number _         _     _    _          $_ _ _ _ _ $_ _ _ _ _ $_ _ _ _ _
              Priority Creditor's Name                                                                                                                                                               1
                                                                                          When was the debt Incurred?
               Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
                                                                                          □ Contingent
               City                                    State         ZIP Code             □ Unliquidated
              Who incurred the debt? Check one.                                           □ Disputed
              □ Debtor 1 only
                                                                                          Type of PRIORITY unsecured claim:
               □ Debtor 2 only
                                                                                          □ Domestic support obligations
               □ Debtor 1 and Debtor 2 only
               □ At least one of the debtors and another
                                                                                          D Taxes and certai n other debts you owe the government
                                                                                          □ Claims for death or personal injury while you were
               □ Check If this claim Is for a community debt                                intoxicated
               Is the claim subject to offset?                                            □ Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
               □ No
               □ Yes
                                                                                                                                                                                                   ..J

     Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 o f ~
                         Case 25-31187
                    Charles         Ray
                                        Document 20  Filed in TXSB on 03/17/25 Page 16 of 35
                                                  Mosrly
    Debtor 1                                                        Case number (ffknown),_2_5_-_3_1_1_8_7___________
                      First Name          Middle Name      Last Name



                    List All of Your NONPRIORITY Unsecured Claims

    3. Do any creditors have nonpriority unsecured claims against you?
         D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
         ~ Yes
    4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
         nonpriority unsecured claim , list the creditor separately for each claim . For each claim listed, identify what type of claim it is. Do not list claims already
         included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
         claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim




F         Memorial Hermann
          Nonpriority Creditor's Name

          P. 0. Box 4370
          Number

          Houston
          City
                           Street

                                                        Texas
                                                        State          ZIP Code
                                                                                     Last 4 digits of account number __l_

                                                                                     When was the debt incurred?
                                                                                                                                 _±_ ..!_ 2
                                                                                                                            09/16/2024


                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     D Contingent
                                                                                                                                                           $_ _ _ _173.27
                                                                                                                                                                   ____ ,




          Who incurred the debt? Check one.                                          D Unliquidated
          ia Debtor 1 only                                                           IS' Disputed
           □ Debtor 2 only
           □ Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                                 □ Student loans
           0 Check if this claim is for a community debt                             □ Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
           Is the claim subject to offset?                                           D Debts to pension or profit-sharing plans, and other similar debts
           ia No                                                                     10' Other. Specify Medical care
           □ Yes

    .2                                                                               Last 4 digits of account number _ _ _                _                $_ _ _ _ _ __
I         Nonpriority Creditor's Name                                                When was the debt incurred?


           Number           Street
                                                                                     As of the date you file, the claim Is: Check all that apply.
           City                                         State          ZIP Code
                                                                                     D Contingent
           Who incurred the debt? Check one.                                         □ Unliquidated
           □ Debtor 1 only                                                           D Disputed
           □ Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
           D Debtor 1 and Debtor 2 only
           0 At least one of the debtors and another                                 0   Student loans
                                                                                     D Obligations arising out of a separation agreement or divorce
           □ Check if this claim Is for a community debt                                 that you did not report as priority claims
           Is the claim subject to offset?                                           □ Debts to pension or profit-sharing plans, and other similar debts
           □ No                                                                      D Other. Specify _ _ __ __ _ __ _ _ __ _ __
           □ Yes

4.3
                                                                                     Last 4 digits of account number _ _ _                _
           Nonpriority Credito r's Name                                                                                                                    $_ _ _ _ _ __
                                                                                     When was the debt incurred?

           Number           Street


           City
                                                                                     As of the date you file, the claim is: Check all that apply.
                                                        State          ZIP Code

           Who Incurred the debt? Check one.
                                                                                     0 Contingent
                                                                                     D Unliquidated
           D Debtor 1 only                                                           0 Disputed
           □ Debtor 2 only
           D Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
           0 At least one of the debtors and another
                                                                                     □ Student loans
           □ Check if this claim is for a community debt                             D Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
           Is the claim subject to offset?
           □ No
                                                                                     D Debts to pension or profit-sharing plans, and other similar debts
                                                                                     □ Other. Specify
           □ Yes                                                                                         ----------------
                                                                                                                                          -- - - --------~
Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page2_of£_
                             Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 17 of 35

    Fill m thi s information to identify your cas e:


    Debtor            Charles                  Ray                       Mosely
                       First Name             Middle Name                Last Name

    Debtor 2
    {Spouse ~ fi ling) Fir>t Name             Middle Name                Last Name


    United States Bankruptcy Court for the: South em District of Texas
                                                                                     El
    Case number        25-31187
    {If known)                                                                                                                           D Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


    1. Do you have any executory contracts or unexpired leases?
         □ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form .
         □ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).

    2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.



         Person or company with whom you have the contract or lease                            State what the contract or lease is for




         Name

         Number            Street

         City                             State      ZIP Code

2.2
         Name

         Number            Street

I   C..ity
1 _ ..   . ______________s_ta_t,;;,,
                               e __z_I_P_C
                                         ;coc.=de_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

2.3

         Name


I        Number           Street

l
E ·z
         Ci            St~
              ----------
                                                    ~       od_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         Name

         Number            Street

         City                             State      ZIP Code

2.~
         Name
I
         Number            Street

         City                             State      ZIP Code


Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of_1_
                         Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 18 of 35
 Fill in this information to identify your case :


 Debtor 1          Charles                          Ray                          Mosely
                    First Name                      MlddleName                   Last Name

 Debtor 2
 (Spouse, If filing) Fl~t Name                      Middle Name                  Last Nams


 United States Bankruptcy Court for the: Southern District of Texas
                                                                                             B
 Case number        25-31187
  (If known)        -----------------
                                                                                                                                             D Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      i2I No
      □ Yes
 2. Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      IS No. Go to line 3.
      □ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            □ No
            □ Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.



                 Name of your spouse, former spouse, or legal equivalent



                 Number             Street



                 City                                             State                      Z IP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule EIF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule EIF, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:

~        Name
                                                                                                           □ Schedule D, line ___
                                                                                                           □ Schedule E/F, line
         Number            Street                                                                           □ Schedule G, line ___

         City                                                        State                     ZIP Code

§]                                                                                                         □ Schedule D, line ___
         Name
                                                                                                           □ Schedule E/F, line ___
         Number            Street                                                                           □ Schedule G, line

         City                                                         State                    ZIP Code

§]                                                                                                          □ Schedule D, line
         Name
                                                                                                            □ Schedule E/F, line ___
          Number           Street                                                                           □ Schedule G, line

          City                                                        Stale                    ZIP Code



Official Form 106H                                                            Schedule H: Your Codebtors                                          page 1 of_1_
                              Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 19 of 35

    Fill in this information to identify your case:


    Debtor 1           Charles                Ray                         Mosely
                        First Name            Mlddle Neme                 Last Name

    Debtor 2
    (Spouse, if filing ) First Name           Middle Name                 Last Name


    United States Bankruptcy Court for the: Southern District of Texas

    Case number          25-31187                                                                           Check if this is:
     (If known)
                                                                                                            D An amended filing
                                                                                                            DA supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:
Official Form 1061                                                                                                MM / 00 / YYYY

Schedule I: Your Income                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


■ if          I        Describe Employment


1
    1. Fill in your employment
       information.                                                             Debtor 1                                      Debtor 2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional         Employment status                 □ Employed                                      □ Employed
       employers.                                                             0 Not employed                                  □ Not employed
       Include part-time, seasonal, or
       self-employed work.
                                            Occupation                      Retired
       Occupation may include student
       or homemaker, if it applies.
                                            Employer's name


                                            Employer's address
                                                                             Number Street                                 Number    Street




                                                                             City              State   ZIP Code            City                 State   ZIP Code

                                            How long employed there?



I§f◄                   Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
       spouse unless you are separated .
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form .

                                                                                                       For Debtor 1         For Debtor 2 or
                                                                                                                            non-filing spouse
     2. List monthly gross wages , salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be .           2.
                                                                                                       $                        $

     3. Estimate and list monthly overtime pay.                                                3. +$                       + $

                                                                                                                  0.00                  0.00
     4. Calculate gross income. Add line 2 + line 3.                                           4.      $
                                                                                                                         II     $




Official Form 1061                                                       Schedule I: Your Income                                                        page 1
                             Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 20 of 35

Debtor 1           Charles                               Ray                                Mosely                                       Case number (ff known) 25-31187
                     First Name          Middle Name                 Lest Name
                                                                                                                                                           - - -- - - -- - -- - - -

                                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                                             non-filing spouse

      Copy line 4 here ......................... ......................................................................   -+ 4.         $_ _o_.o_o              $- - - 0.00
                                                                                                                                                                       --
, 5. List all payroll deductions:

       5a . Tax, Medicare, and Social Security deductions                                                                   5a.         $                       $
       5b. Mandatory contributions for retirement plans                                                                     5b.         $                       $
       5c. Voluntary contributions for retirement plans                                                                     5c.         $                       $
       5d . Required repayments of retirement fund loans                                                                    5d .        $                       $
       5e . Insurance                                                                                                       5e.         $                       $
       5f. Domestic support obligations                                                                                     5f.         $                       $

       59. Union dun                                                                                                         59 .       $                       $
        5h. Other deductions. Specify:                                                                                       5h . +$                        + $

    6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h .                                          6.         $         0.00          $          0.00

    7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                   7.         $                       $

' 8. List all other income regularly received:
        8a . Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total                                                          $_ _ _ __               $______
             monthly net income.                                                                                             Ba.
        8b. Interest and dividends                                                                                           Bb.        $_ _ _ __               $_ _ _ _ __
        Be. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce                                                     $ _ _ _ __              $ _ _ _ _ __
              settlement, and property settlement.                                                                           Be.
        Bd . Unemployment compensation                                                                                       Bd .       $_ _ _ __               $_____
        Be . Social Security                                                                                                 Be.        $  1,448.02             $______
        Bf. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Bf.                                                                    $                       $

         Bg . Pension or retirement income                                                                                   Bg.        $    1,195.33           $
         Bh. Other monthly income. Specify: _ _ _ _ _ _ _ _ _ _ _ _ __                                                       Bh. +$            230.09         +$

1    9. Add all other income. Add lines Ba + Bb + Be+ Bd + Be + Bf +Bg + Bh .                                                 9.    I   $    2,873.441          $          0.00
                                                                                                                                                                                   I
    1o. Calculate monthly income. Add line 7 + line 9.
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                             10.   I   $    2,873.441 +    I   $          0.00
                                                                                                                                                                                       I= 1$      2,873.44
1

1
    11 . 5tate all other regular contributions to the expenses that you list in Schedule J.
'      Include contributions from an unmarried partner, members of your household , your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-1 0 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:---------------------------------                                                                                                                                 11 . + $_ _ _ _ __
1   12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
        Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                       12.              2,873.44
                                                                                                                                                                                          Combined
                                                                                                                                                                                          monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
         0 No.
         D Yes. Explain :

Official Form 1061                                                                           Schedule I: Your Income                                                                           page 2
                            Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 21 of 35


   Fill in this information to identify your case :

   Debtor 1         Charles                  Ray                        Mosely
                       First Name            Middle Name                Lest Name                      Check if this is:
   Debtor 2
   (Spouse, ff filing) First Name            Midd le Name               Last Name
                                                                                                       0 An amended filing
                                                                                                       0 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Southern District of Texas
                                                                                    B                      expenses as of the following date:
   Case number 25-31187                                                                                    MM I DD / YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

■ i•H Describe Your Household
 1. Is this a joint case?

    !ff No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                 0 No
                 0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                Iii' No                                  Dependant's relationship to               Dependant's   Does dependent live
    Do not list Debtor 1 and                0 Yes. Fill out this information for    Debtor 1 or Debtor 2                      age           with you?
    Debtor 2.                                   each dependent.. ........ ......... ..... .. - - - - - - - - - - - -
    Do not state the dependents'
                                                                                                                                            0 No
    names.                                                                                                                                  0 Yes
                                                                                                                                            □ No
                                                                                                                                            D Yes
                                                                                                                                            □ No
                                                                                                                                            □ Yes
                                                                                                                                            □ No
                                                                                                                                            □ Yes
                                                                                                                                            □ No
                                                                                                                                            □ Yes

 3. Do your expenses include
  expenses of people other than
                                            0 No
_ yourself al_!d your _51_ependents?        0 Yes

                  Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                           Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                   4.       $

      If not included in line 4:
      4a.     Real estate taxes                                                                                        4a .     $
      4b.     Property, homeowner's, or renter's insurance                                                             4b.      $                144.00
      4c.       Home maintenance, repair, and upkeep expenses                                                          4c.      $                450.00
      4d.       Homeowner's association or condominium dues                                                            4d .     $                  0.00

Official Form 106J                                             Schedule J: Your Expenses                                                           page 1
                         Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 22 of 35

Debtor 1         Charles                      Ray                    Mosely                                         25-31187
                                                                                             Case number (if known)'-
                 First Name     Middle Name         Last Nam e
                                                                                                                      - - - - - -- -- - - - -



                                                                                                                       Your expenses

                                                                                                                       $                 0.00
 5. Additional mortgage payments for your residence, such as home equity loans                              5.         ·--------

 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                  6a.        $               150.00
      6b. Water, sewer, garbage collection                                                                  6b.        $                30.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.        $                96.00
      6d.   Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        6d .       $

 7. Food and housekeeping supplies                                                                          7.         $               250.00

 8. Childcare and children's education costs                                                                 8.        $
 9.   Clothing, laundry, and dry cleaning                                                                    9.        $                25.00
10. Personal care products and services                                                                      10.       $

11 . Medical and dental expenses                                                                             11.       $

12. Transportation. Include gas, maintenance, bus or train fare .                                                                      150.00
                                                                                                                       $
    Do not include car payments.                                                                             12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.       $                50.00
14. Charitable contributions and religious donations                                                         14.       $               100.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                    15a.      $

      15b. Health insurance                                                                                  15b.      $

      15c. Vehicle insurance                                                                                 15c.      $

      15d. Other insurance. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         15d .     $


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20 .
      Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              16.       $

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                        17a.      $                 0.00

      17b. Car payments for Veh icle 2                                                                       17b.      $                 0.00
      17c. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          17c.      $                 0.00
      17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                           17d.      $                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                            18.   $                 0.00

19. Other payments you make to support others who do not live with you.
      Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                    19.   $                 0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                       20a.      $                 0.00

      20b. Real estate taxes                                                                                 20b.      $                 0.00
      20c. Property, homeowner's, or renter's insurance                                                      20c.      $                 0.00
      20d. Maintenance, repair, and upkeep expenses                                                          20d .     $                 0.00
      20e. Homeowner's association or condominium dues                                                       20e.      $                 0.00


Official Form 106J                                               Schedule J: Your Expenses                                               page 2
                         Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 23 of 35

 Debtor 1        Charles                         Ray                    Mosely                  Case number (ff known),_____________
                                                                                                                       25-31187      _
                 First Name    Middle Name             Last Name




21.    Other. Specify:                                                                                       21 .   +$          0.00


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21 .                                                                        22a.    $       1,445.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                 22b.    $           0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                      22c.    $       1,445.00


23. Calculate your monthly net income.
                                                                                                                     $      2,873.44
      23a.   Copy line 12 (your combined monthly income) irom Schedule I.                                   23a.

      23b.   Copy your monthly expenses from line 22c above.                                                23b.    -$      1,445.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                     $      1,428.44
             The result is your monthly net income.                                                         23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      lit' No.
      D Yes.       Explain here:




                 L        --    -      __    ,   ____




Official Form 106J                                                 Schedule J: Your Expenses                                    page 3
                              Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 24 of 35

  Fill in this information to 1dent1fy your case :


  Debtor 1          Charles                     Ray                      Mosely
                        First Name              Middle Name            last Name

  Debtor 2
  (Spouse, if filing) Fir,t Name                Middle Name            last Name


  United States Bankruptcy Court for the: Southern District of Texas
                                                                                   G
  Case number           25-31187
   (If known)                                                                                                                       D Check if this is an
                                                                                                                                       amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/19
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                  Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        □ Married
       fl Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

       !f No
       □ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                         Dates Debtor 1    Debtor 2:                                            Dates Debtor 2
                                                                  lived there                                                            lived there


                                                                                    D Same as Debtor 1                                  D Same as Debtor 1
                                                                  From                                                                     From _ __
                Number               Street                                            Number Street
                                                                  To                                                                       To




                City                          State ZIP Code                           City                      State ZIP Code

                                                                                    D Same as Debtor 1                                  D Same as Debtor 1
                                                                  From                                                                     From _ __
                Number               Street                                            Number Street
                                                                  To                                                                       To




                 City                         State ZIP Code                            City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       □ No
       □ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



 ■ §fj Explain the Sources of Your Income
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 1
                       Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 25 of 35

Debtor°1     Charles                       Ray                        Mosely                      Case number (ifknown),_2_5_-_3_1_ 1_ 8_ 7 _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name          Last Name




 4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities .
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      ~ No
      D Yes. Fill in the details.
                                                         Debtor 1                                          Debtor2

                                                         Sources of income        Gross income             Sources of income             Gross income
                                                         Check all that apply.    (before deductions and   Check all that apply.         (before deductions and
                                                                                  exclusions)                                            exclusions)


           From January 1 of current year until          D Wages , commissions,   $_ _ _ _ _ __
                                                                                                            D Wages, commissions ,       $_ _ _ __ _ _
                                                              bonuses, tips                                    bonuses, tips
           the date you filed for bankruptcy:
                                                         D Operating a business                             D Operating a business

           For last calendar year:
                                                         D Wages, commissions ,                             D Wages, commissions ,
                                                              bonuses, tips       $_ _ _ _ _ __                 bonuses , tips           $_ _ _ _ _ __
           (January 1 to December 31 , _- c=-,-,---~
                                           yyyy
                                                         D Operating a business                             D Operating a business

           For the calendar year before that:            D Wages, commissions,                              D Wages, commissions ,
                                                              bonuses , tips                                    bonuses, tips
                                                                                  $_ _ _ _ _ __                                          $_ _ _ _ _ __
           (January 1 to December 31 , _ _ __
                                      yyyy
                                                         D Operating a business                             D Operating a business


  s. Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      Iii' No
      D Yes. Fill in the details.
                                                         Debtor 1

                                                         Sources of income        Gross income from          Sources of income           Gross income from
                                                         Describe below.          each source                Describe below.             each source
                                                                                  (before deductions and                                 (before deductions and
                                                                                  exclusions)                                            exclusions)



           From January 1 of current year until                                   $________ - - - - - - - - - - $_ _ _ _ _ __
           the date you filed for bankruptcy:
                                                                                  $________ - - - - - - - - - - $_ _ _ _ _ __
                                                                                  $_______ _ - - - - - - - - - - $___ _ _ _ __


           For last calendar year:                                                $_ _ _ _ _ __                                         $_ _ _ _ _ __
           (January 1 to December 31 , ___)                                       $_ _ _ _ _ __                                         $ _ _ _ _ _ __
                                           yyyy
                                                                                  $_ _ _ _ _ _ __                                       $_ _ _ _ _ __



            For the calendar year before that:                                    $_ _ _ _ _ _ _ - - - - - - - - - $_ _ _ _ _ __
            (January 1 to December 31 , _ )
                                           yyyy                                   $_ _ _ _ _ _ _ - - - - - - - - - $_ _ _ _ _ __
                                                                                  $_ _ _ _ _ __                    $_ _ _ _ _ _ __




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
                     Case 25-31187 Document 20 Filed in TXSB on 03/17/25 Page 26 of 35

Debtor 1    Charles                            Ray                          Mosely                     Case number (if known) 25-31187
             First Name          Middle Name               Last Nam e                                                    - - - - - - - - - - - -- --

            List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     122 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
             "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

             0 No. Go to line 7.
             D Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case .
             • Subject to adjustment on 4101122 and every 3 years after that for cases filed on or after the date of adjustment.

     0 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             0 No. Go to line 7.
             0 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                            Dates of    Total amount paid        Amount you still owe    Was this payment for ...
                                                                            payment


                                                                                         $________ $________                             0 Mortgage
                     Creditor' s Name
                                                                                                                                         0 Car
                     Number      Street                                                                                                  D Credit card
                                                                                                                                         0 Loan repayment
                                                                                                                                         0 Suppliers or vendors
                     City                      State            ZIP Code
                                                                                                                                         0 Other _ _ __ _

                                                                                         $_ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ __
                                                                                                                                         0 Mortgage
                     Creditor's Name
                                                                                                                                         0 Car
                     Number      Street
                                                                                                                                         0 Credit card
                                                                                                                                         0 Loan repayment
                                                                                                                                         D Suppliers or vendors
                     City                      State            ZIP Code
                                                                                                                                         0 Other _ _ _ __


                                                                                         $ _ _ _ _ _ _ __ $_ _ _ _ _ _ __
                                                                                                                                         D Mortgage
                     Creditor's Name
                                                                                                                                         D Car
                     Number      Street                                                                                                  D Credit card
                                                                                                                                         0 Loan repayment
                                                                                                                                         0 Suppliers or vendors
                     City                      State             ZIP Code
                                                                                                                                         D Other - - -- -



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Debtor 1     Charles                             Ray                    Mosely                                             _______________
                                                                                                     Case number (if/mown), 25-31187
                  First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     !f No
     □ Yes . List all payments to an insider.
                                                                        Dates of     Total amount      Amount you still    Reason for this payment
                                                                        payment      pa id             owe


                                                                                    $_ _____ $_ _ _ _ __
           Insider's Name



           Number        Street




           City                                  State   ZIP Code



                                                                                    $_ _ _ __         $_ _ _ _ _
           Insider's Name


           Number        Street




           City                                  State   ZIP Code


  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     !f No
     □ Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount      Amount you still   Reason for this payment
                                                                       payment        paid              owe
                                                                                                                           Include creditor's name

                                                                                     $_ _ _ __         $_ _ _ __
           Insider's Name



           Number         Street




           City                                  State   ZIP Code



                                                                                     $_ _ _ _ _ $_ _ _ __
           Insider's Name



           Number         Street




           City                                  State   ZIP Code




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Debtor 1     Charles                              Ray                        Mosely                             Case number (if known) 25-31187
              First Name            Middle Name            Last Name                                                              - -- - -- - - - - - - - - -


             Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions , divorces, collection suits, paternity actions, support or custody modifications ,
    and contract disputes.

     !f No
     D Yes. Fill in the details.
                                                                  Nature of the case                      Court or agency                           Status of the case



           Case title _ __ _ _ __ _ _ _ __                                                               Court Name
                                                                                                                                                    D Pending
                                                                                                                                                    D On appeal
                                                                                                         Number    Street                           D Concluded
           Case number
                                                                                                         City                  State   ZIP Code




           Case title_ _ _ _ _ _ _ _ _ _ __                                                              Court Name
                                                                                                                                                    D Pending
                                                                                                                                                    D On appeal
                                                                                                         Number    Street                           D Concluded
           Case number
                                                                                                         City                  State   ZIP Code
                                                                                                    .J

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     IS No. Go to line 11 .
     D Yes. Fill in the information below.
                                                                            Describe the property                                       Date      Value of the property



                                                                                                                                                  $ _ _ _ _ __
               Creditor's Name



               Number      Street                                           Explain what happened

                                                                            D Property was repossessed .
                                                                            D Property was foreclosed.
                                                                            D Property was garnished.
               City                               State   ZIP Code          D Property was attached , seized , or levied .
                                                                            Describe the property                                       Date       Value of the propert}



                                                                                                                                                  $_ _ _ __ _
               Creditor's Name



               Number      Street
                                                                            Explain what happened


                                                                            D Property was repossessed .
                                                                            D Property was foreclosed .
               City                               State   ZIP Code
                                                                            D Property was garnished .
                                                                            D Property was attached , seized, or levied .


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Debtor 1          Charles                         Ray                       Mosely                        Case number (ifknown)_2_5_-_3_1_ 1_ 8_ 7 _   _   _ _ _ _ __ __        _
                   First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     l!ii::I No
     D Yes. Fill in the details .
                                                                  Describe the action the creditor took                                 Date action          Amount
                                                                                                                                        was taken
           Creditor's Name


                                                                                                                                                            $_ _ _ _ _ __
           Number      Street




           City                           State   ZIP Code        Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     □ No
     D Yes

•f     f j List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     0 No
     D Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600            Describe the gifts                                                    Dates you gave          Value
            per person                                                                                                                  the gifts



                                                                                                                                                               $_ _ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                              $______


           Number       Street



           City                           State    ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600             Describe the gifts                                                    Dates you gave         Value
           per person                                                                                                                   the gifts


                                                                                                                                                               $_ _ _ _ __
           Person to Whom You Gave th e Gift


                                                                                                                                                               $_ _ _ _ __



           Number       Street



           City                           State    ZIP Code


           Person's relationship to you _ _ _ _ __


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Debtor 1          Charles                         Ray                       Mosely                            Case number (if known) 25-31187
                    First Name      Middle Name          last Name                                                                - - - - - - - - -- ------


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     0 No
     D Yes. Fill in the details for each gift or contribution .
            Gifts or contributions to charities                 Describe what you contributed                                          Date you          Value
            that total more than $600                                                                                                  contributed



                                                                                                                                                         $_ _ _ __
           Charity's Name


                                                                                                                                                         $_ _ _ __



           Number        Street




           City            State     ZIP Code




1611                List Certain Losses

  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     f0 No
     D Yes. Fill in the details .
            Describe the property you lost and                    Describe any Insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                      loss              lost
                                                                  Include the amount that insurance hes paid. List pending insurance
                                                                  claims on line 33 of Schedule A/B: Property.


                                                                                                                                                          $_ _ _ __

                                                              J

                  List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ia No
     D Yes. Fill in the details.
                                                                  Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                       transfer was
             Person Who Was Paid                                                                                                       made


             Number        Street                                                                                                                        $ _ _ _ __


                                                                                                                                                         $_ _ _ _ __

             City                        State    ZIP Code



             Email or website address


             Person Who Made the Payment, if Not You



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Debtor 1      Charles                           Ray                           Mosely                         Case number (if known) 25-31187
                  First Name      Middle Name              Last Name                                                           - - - - -- - -- - ------


                                                                   Description and value of any property transferred                    Date payment or     Amount of
                                                                                                                                        transfer was made   payment


           Person Who Was Paid
                                                                                                                                                            $ _ _ _ _ __
           Number       Street

                                                                                                                                                            $_ _ _ __



           City                        State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     lB' No
     0 Yes . Fill in the details.
                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
           Person Who Was Paid                                                                                                 -7
                                                                                                                                                            $_ _ _ __
           Number        Street

                                                                                                                                    i                       $ _ _ _ __
           -C-ity_ _ _ _ _ _ _ _S_t-at_
                                                      I
                                               od_e__ l_
                                      e__Z_I_P_C-
                                                                                                                                    I
                                                                                                                              __J

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     [H No
     D Yes . Fill in the details.
                                                                   Description and value of property         Describe any property or payments received        Date transfer
                                                                   transferred                               or debts paid In exchange                         was made

           Person Who Received Transfer


           Number        Street
                                                                                                         1
           City                        State    ZIP Code


           Person 's relationship to you _ _ _ _ __


           Person Wh o Received Transfer


           Number        Street




           City                        State    ZIP Code

           Person's relationsh ip to you _ _ _ _ __

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Debtor 1         Charles                            Ray                              Mosely                       Case number (if/mown) 25-31187
                      First Name      Middle Name              lest Name                                                             - -- - - - - - - - -- - - - -


 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     0 No
     D Yes . Fill in the details .
                                                                       Description and value of the property transferred                                         Date transfer
                                                                                                                                                                 was made


           Name of trust




■ :r. - - :A     Llet Certain Flnanclal Accounte, lnetrumante, Safa Dapoelt Boxae, and Storage Unite

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     if No
     □ Yes. Fill in the details.
                                                                           Last 4 digits of account number   Type of account or        Date account was       Last balance before
                                                                                                             Instrument                closed, sold, moved,   closing or transfer
                                                                                                                                       or transferred

               Name of Financial Institution
                                                                           XXXX-_ -          -     -         □ Checking                                       $_ _ _ __

               Number        Street
                                                                                                             □ Savings
                                                                                                             □ Money market
                                                                                                             □ Brokerage
               City                        State    ZIP Code
                                                                                                             □ Other_ _ __



                                                                           XXXX-_ -          -     -         □ Checking                                       $_ _ _ _ _
               Name of Financial Institution
                                                                                                             □ Savings
               Number        Street                                                                          □ Money market
                                                                                                             □ Brokerage
                                                                                                             □ Other_ _ __
               City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     riif No
     D Yes. Fill in the details.
                                                                           Who else had access to it?                    Describe the contents                       Do you still
                                                                                                                                                                     have It?

                                                                                                                                                                     □ No
               Name of Financial Institution                           Name                                                                                          □ Yes

               Number        Straot                                    Number      Street


                                                                       City          State       ZIP Code
               City                        State    ZIP Code



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Debtor 1       Charles                             Ray                            Mosely                                Case number (ifknown)_2_5_-_3_1_1_8_7
                                                                                                                                                           _ _ _ _ _ _ _ _ _ __
                   First Nam e      Midd le Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    ej No
      □ Yes. Fill in the details.
                                                                     Who else has or had access to It?                       Describe the contents                     Do you still
                                                                                                                                                                       have It?

                                                                                                                                                                        □ No
           Name of Storage Facility                                  Name
                                                                                                                                                                        □ Yes

           Number         Street                                     Number    Street


                                                                     CltyState ZIP Code

           City                          State     ZIP Code



                      Identify Property You Hold or Control for Someone Else
  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      IS No
       □ Yes. Fill in the details.
                                                                     Where is the property?                                  Describe the property                  Value



            Owner's Name                                                                                                                                            $_ _ __

                                                                    Number    Street
            Number         Street



                                                                    City                          State      ZIP Code
            City                          State     ZIP Code


                      Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  ■    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  ■    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.
  ■    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term .

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


       ej No
       □ Yes. Fill in the details.
                                                                     Governmental unit                           Environmental law, if you know it                 Date of notice



           Name of site                                             Govemmental unit


           Number        Street                                     Number    Street


                                                                    City                  State   ZIP Code



           City                         State      ZIP Code




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Debtor 1      Charles                             Ray                          Mosely                                 Case number (ifknown),_2_5_-_3_1_1_8_7_ _ __ _ _ _ _ _ __
                   First Name       Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     iB' No
     □ Yes. Fill in the details.
                                                                Governmental unit                                 Environmental law, if you know it                    Date of notice



            Name of site                                       Governmental unit


            Number        St reet                              Number       Street



                                                               City                    State    ZIP Code


            City                         State    ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     0 No
     □ Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                     Court or agency                                   Nature of the case
                                                                                                                                                                        case

           Case tltle_ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                        □ Pending
                                                                     Court Name
                                                                                                                                                                        □ On appeal
                                                                     Number   Street                                                                                    □ Concluded

           Case number                                               City                      State   ZIP Code



                     Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           □ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           □ A partner in a partnership
           □ An officer, director, or managing executive of a corporation
           □ An owner of at least 5% of the voting or equity securities of a corporation

     1B' No. None of the above applies. Go to Part 12.
     □ Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                              Employer Identification number
                                                                                                                                      Do not Include Social Security number or ITIN.
            Business Name



            Number        Street                               L.. -
                                                                     Name of accountant or bookkeeper
                                                                                                                                J     EIN:

                                                                                                                                      Dates business existed


                                                                                                                                      From     ____ To _ __
            City                          State   ZIP Code

                                                                     Describe the nature of the business                              Employer Identification number
                                                                                                                                      Do not include Social Security number or ITIN.
            Business Name


                                                                                                                                      EIN:
            Number        Street
                                                                     Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                      From               To _ __
            City                          State   ZIP Code


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Debtor 1     Charles                            Ray                             Mosely                       Case number (if known)25-31187
                  First Name      Middle Name              Last Name




                                                                                                                          Employer Identification number
                                                                   Describe the nature of the business
                                                                                                                          Do not include Social Security number or ITIN.
           Business Name
                                                                                                                          EIN:
                                                                                                                                 - - -- - - - - - -
           Number        Street
                                                                   Name of accountant or bookkeeper                        Oates business existed



                                                                                                                           From               To
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     ~ No
     0 Yes. Fill in the details below.
                                                                       Date issued



           Name                                                        MM /00/YYYY



           Number        Street




           City                        State    ZIP Code




                   Sign Balow

       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                                     Signature of Debtor 2


                                                                                     Date _ _ _ _ __
       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       0 No
       D Yes

       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       0 No
       D Yes . Name of person _ _ _ _ _ _ _ _ _ _ _ __ _ _ __________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                     Declaration, and Signature (Official Form 119).




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